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                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia


In     Debtor(s)
Re:    Terry Flounory                                        Case No.: 18−55404−pmb
       10641 Tara Village Way                                Chapter: 13
       Jonesboro, GA 30238                                   Judge: Paul Baisier

       xxx−xx−4901




                                              ORDER OF DISMISSAL



The Chapter 13 Trustee's objection(s) to confirmation came before the Court and

After hearing and for good cause shown, confirmation is denied, and

IT IS ORDERED THAT THIS CASE IS DISMISSED.

Any unpaid filing fees must be paid by the Debtor(s) to the Clerk of the United States Bankruptcy Court within
fourteen (14) days of the date of the entry of this Order.

The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor(s), the Chapter 13
Trustee, all creditors and other parties in interest. The Attorney for the Debtor(s) shall serve a copy of this Order upon
any employer of the Debtor(s) who is subject to an employer deduction order.




                                                             Paul Baisier
                                                             United States Bankruptcy Judge


Dated: August 2, 2018


Form 155
